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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

 UNITED STATES OF AMERICA                                 *    CIVIL ACTION NO. 06-30039-09

 VERSUS                                                   *    JUDGE JAMES

 CONSUELO SANCHEZ                                         *    MAGISTRATE JUDGE HAYES



                             REPORT AND RECOMMENDATION

        Before the undersigned Magistrate Judge, on reference from the District Court, is a

 Motion to Suppress filed by the defendant, Consuelo Sanchez ("Sanchez") (Document No. 83).

 For reasons stated below, it is recommended that the motion be DENIED.

                                         BACKGROUND

        On September 28, 2006, at the Sportsman One Stop, 420 North Chestnut, Tallulah,

 Louisiana, Sanchez was arrested pursuant to an arrest warrant obtained after her indictment on

 charges stemming from an alleged violation of 18 U.S.C. §371 and 18 U.S.C. §2320 and for

 alleged false representation and use of a social security account number under 42 U.S.C.

 §408(a)(7)(B). On January 12, 2007, Sanchez filed a motion to suppress alleging that she had

 not been arrested pursuant to a valid warrant and that the statement she gave at the scene of the

 arrest was not given pursuant to a valid waiver of her Miranda rights. An evidentiary hearing

 was held in this matter on June 29, 2007.

                                    LAW AND ANALYSIS

        The evidence presented at the hearing indicates that Sanchez was arrested pursuant to

 valid arrest warrant and that the statement given at the scene of the arrest was given pursuant to a

 knowing and voluntary waiver of her Miranda rights. Louisiana State Trooper Cameron

 Douglas, FBI Agent Jeffrey Goins, and other law enforcement officers arrested Sanchez pursuant
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 to a valid arrest warrant following her indictment. The officers were dressed in clothing which

 identified them as law enforcement and some of them were traveling in marked police vehicles.

 When the officers entered the store, at which time they were brandishing no weapons, they

 identified themselves as law enforcement, told Sanchez that they had a warrant for her arrest, that

 she would be transported to jail, and that they would like to talk to her. At that time, Agent

 Goins read Sanchez her rights according to the standard Federal Bureau of Investigation Advice

 of Rights form. Agent Goins then asked Sanchez if she understood her rights, to which she

 responded that she did. Sanchez then signed the Advice of Rights form indicating that she

 understood her rights and was willing to waive those rights and answer questions without a

 lawyer.1 Because Sanchez indicated that she was unable to read English well, the portion of the

 form indicating that the individual has read the statement of right was crossed out, and Sanchez

 initialed the crossed out portion.

        The evidence further indicates that Sanchez's waiver of her rights was knowing and

 voluntary. Sanchez's counsel made an issue of the fact that Sanchez was unable to read the rights

 form; however, the fact that Sanchez did not read the rights form is not determinative on the

 issue of her understanding of her rights. All three law enforcement officers who testified at the

 hearing, all of whom were present when Sanchez was read her rights and signed the consent

 form, stated that there was no doubt in their minds that Sanchez understood English and that she

 understood her rights. Trooper Douglas testified that he had prior experience conversing with

 Sanchez in a non-interrogation, undercover setting, and that she was capable of understanding



        1
          The name Sanchez used in signing the form, Liticia Mireles Torres, is undisputedly one
 of the names by which the defendant is known, and it is undisputed that the defendant was the
 person who signed the form.

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 and communicating in English. Douglas and Goins both testified that, prior to signing the waiver

 of rights form, Sanchez conversed with them in English at the scene of arrest. Moreover, at the

 hearing in this matter, there was no interpreter present and Sanchez repeatedly conversed with

 her attorney without the need of an interpreter, and Sanchez has not requested an interpreter at

 any stage of these proceedings. The testimony also indicated that Sanchez was able to converse

 with the officers at the scene regarding her medical conditions, including multiple surgeries and

 the resulting scars. Thus, there is ample evidence that Sanchez was capable of understanding and

 conversing in English.

        Furthermore, both Trooper Douglas and Agent Goins testified that, at no time during the

 execution of the arrest warrant was any physical force used nor were there any unduly

 intimidating or coercive tactics used by any of the officers at the scene of the arrest. This claim is

 supported by the fact that the other individual who was arrested at the same time, Ahmed Ali

 Nagi, did request an attorney and was not interviewed by the officers. Agent Goins testified that

 he was certain Sanchez understood her rights, and that if he had had any indication that Sanchez

 did not fully understand her rights, he would have taken steps to ensure that she did so before

 attempting to obtain a waiver.

        Sanchez's counsel repeatedly questioned Trooper Douglas and Agent Goins regarding

 whether they explained to Sanchez the meaning of the term "waiver" when they were reading the

 rights and obtaining her waiver. However, the form that the rights were read from does not use

 the term "waiver," but instead states "I understand what my rights are. At this time, I am willing

 to answer questions without a lawyer present," language which is much simpler to understand

 than the term "waiver." Thus, the officers' failure to explain what "waiver" means is irrelevant to

 Sanchez's understanding of her rights. Sanchez's counsel also repeatedly questioned the officers

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 about whether they informed Sanchez that she had a right to an appointed attorney if she could

 not afford one and that she had a right to have an attorney present during questioning. Again, the

 form that Agent Goins read to the defendant specifically and clearly informed her of her right to

 have an attorney present and the right to appointed counsel before any questioning. Therefore,

 counsel's arguments in this regard must fail.

        Accordingly, the undersigned finds that the Government had carried its burden of

 demonstrating that the defendant was arrested pursuant to a valid warrant based on a grand jury

 indictment and that the statement at issue was obtained pursuant to a knowing and voluntary

 waiver of the defendant's rights. Sanchez's constitutional rights were not violated, and it is

 therefore recommended that her motion to suppress be DENIED.



                                          CONCLUSION

        For the reasons stated above, it is recommended that defendant's Motion to Suppress be

 DENIED.

        Under the provisions of 28 U.S.C. §636(b)(1)(C) and FRCP Rule 72(b), the parties have

 ten (10) business days from service of this Report and Recommendation to file specific, written

 objections with the Clerk of Court. A party may respond to another party’s objections within ten

 (10) business days after being served with a copy thereof. A courtesy copy of any objection or

 response or request for extension of time shall be furnished to the District Judge at the time of

 filing. Timely objections will be considered by the District Judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

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 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

       THUS DONE AND SIGNED at Monroe, Louisiana, this 29th day of June, 2007.




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